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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE

UNITED STATES OF AMERICA                 )
                                         )
             v.                          )   2:21-cr-00150-JAW
                                         )
JEFFREY RICHARD                          )

                              SPEEDY TRIAL ORDER

       This matter comes before the court upon the Defendant’s Unopposed Motion to
Continue Trial, Speedy Trial Waiver, and Incorporated Memorandum (Docket entry
26).
1.     Counsel represents Jeffrey Richard is facing a multi-count indictment
       charging tax evasion and failure to pay employment tax. (ECF No. 1). Mr.
       Richard is on bond and working. (ECF No. 15). The case is currently on the
       July 5, 2022 trial list. (ECF No. 36).


2.     Counsel for the defense and government have met and are working on a case
       resolution that will not require a trial. A combination of factors support a
       request for a continuance. On May 9, 2022, the Court granted a motion seeking
       permission to prepay financial obligations. ECF # 23. The Defendant has made
       payments of about $9,000 towards his tax obligation since the granting of the
       order. The Defendant has a major contract underway and completion of the
       contracted work will permit the defendant to continue paying his tax
       obligations. The parties are discussing a case resolution which incorporates
       addressing a portion of the owed taxes. Time is needed to allow the defendant to
       address the tax obligation, counsel to continue discussions of the extent of the
       back tax obligation and the parties to fashion a plea agreement. Defense counsel
       needs additional time to confer with the Government and the defendant as part
       of the effort to reach a case resolution.
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3.    The interests of justice to be served by the requested exclusion of time outweigh
      the interests of the defendant and the public in a speedy trial because the
      defense needs adequate time to review and evaluate the evidence and for
      resolution discussions. The Speedy Trial Act, 18 U.S.C. §3161(h)(7)(A)(B)(ii)
      allows the court to enlarge time periods and exclude from calculation the time
      period involved here as the ends of justice served by this enlargement to allow
      adequate preparation by defense counsel outweigh the best interest of the public
      and the defendant in a speedy trial.


4.    After full consideration of the representations of counsel, and of the record, the
      Court incorporates such representations as findings of fact.         Taking into
      consideration the factors set forth in Title 18, United States Code, Section
      3161(h)(7)(B), the Court can and does find that the ends of justice served by such
      an enlargement of time and continuance of trial outweigh the interests of the
      public and of the Defendant in a speedy trial.


      IT IS HEREBY ORDERED THAT:
      1.    The Motion is hereby GRANTED.
      2.    The trial is continued to the September 6, 2022 trial list.
      3.    The time period from July 5, 2022, through September 6, 2022 is hereby
            excluded from calculation under the Speedy Trial Act, 18 U.S.C. ' 3161 et
            seq.


      SO ORDERED.
Dated this 1st day of June 2022.
                                               /s/ John A. Woodcock, Jr.
                                               JOHN A. WOODCOCK, JR.
                                               UNITED STATES DISTRICT JUDGE



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